                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE WESTERN DISTRICT OF MISSOURI

         K.C. HOPPS, LTD.,

                            Plaintiff,
                                                                                Case No. 4:20-cv-00437-SRB
         v.

         THE CINCINNATI INSURANCE COMPANY,
         INC.,

                            Defendant.

                                                    EXHIBIT INDEX

✓ = offered & admitted w/o objection                              Ltd = admitted for limited purposes
Ex = offered, but objected to and excluded                        X = offered & admitted over objection
DB = admitted, de bene                                            NO = marked, but not offered
                                                                  WD = offered then withdrawn
Exhibit       Action        Date             Time   Description
Number        Taken
   1                                                Goodman CV – 79 pages
   2                                                1/26/20 CDC Media Statement – 2 pages
     3                                              1/31/20 Public Health Emergency determination
     4                                              3/13/20 President Proclamation – 2 pages
    5                                               Excerpt from Goodman report
    6                                               Excerpt from Goodman report
    7                                               Excerpt from Goodman report
    8                                               Excerpt from Goodman report
    9                                               Excerpt from Goodman report
    10                                              3/24/20 Property Loss Notice (Dowdy Dep Ex 10) - 11 pages
    11                                              10/5/20 Defendant The Cincinnati Insurance Company's Responses and
                                                    Objections to Plaintiff's First Request for Production of Documents (Dowdy
                                                    Dep Ex 11) - 7 pages
    12                                              4/29/21 Defendant The Cincinnati Insurance Company's Answer and
                                                    Defenses to Plaintiff's First Amended Complaint (Dowdy Dep Ex 12) - 21
                                                    pages




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Exhibit   Action    Date      Time   Description
Number    Taken
   13                                3/29/21 Expert Report of Marc Goodman, PhD, MPH (Goodman Dep
                                     Ex A) - 104 pages
   14                                Virology Journal article "The efect of temperature on persistence of
                                     SARS-CovV-2 on common surfaces" (Goodman Dep Ex C, Thomann
                                     Dep Ex 6) - 7 pages
   15                                4/11/21 Marc Goodman/Epidemiology Consultant Services invoice to
                                     Miller Schirger for consulting services (Goodman Dep Ex D) - 4 pages
   16                                3/29/21 Expert Report of Kevin Grudzien with attached exhibits
                                     (Grudzien Dep Ex 1) - 727 pages
   17                                2/11/21 PYXIS Group invoice to Stueve Siegel Hanson for
                                     professional services rendered (Grudzien Dep Ex 2) - 4 pages
   18                                3/10/21 PYXIS Group invoice to Stueve Siegel Hanson for
                                     professional services rendered (Grudzien Dep Ex 3) - 4 pages
   19                                4/9/21 PYXIS Group invoice to Stueve Siegel Hanson for professional
                                     services rendered Grudzien Dep Ex 4) - 15 pages
   20                                12/3/20 PYXIS Group engagement letter to Stueve Siegel Hanson
                                     (Grudzien Dep Ex 5) - 6 pages
   21                                Notes re business interruption (Grudzien Dep Ex 6)
   22                                Notes re Stroud's and O'Dowd's (Grudzien Dep Ex 7) - 2 pages
   23                                PYXIS Group notes re Non-Continuing Expenses (Grudzien Dep Ex 8)
                                     - 3 pages
   24                                1/8/21 PYXIS Group memo re introduction to insured call/meeting
                                     (Grudzien Dep Ex 9, O'Brien Dep Ex 1) - 2 pages
   25                                3/16/21 PYXIS Group memo re file status with insured call/meeting
                                     (Grudzien Dep Ex 10, Nelson Dep Ex 22) - 3 pages
   26                                Business interruption notes (Grudzien Dep Ex 11)
   27                                Expense notes (Grudzien Dep Ex 12) - 2 pages
   28                                3/18/21 PYXIS Group memo re draft calculation call/meeting
                                     (Grudzien Dep Ex 13, Nelson Dep Ex 23)
   29                                Internal notes re adjustments to calculations (Grudzien Dep Ex 14) - 2
                                     pages
   30                                Cincinnati Insurance Company Commercial Property Coverage Part
                                     Declarations re business interruption (Grudzien Dep Ex 15) - 17 pages
   31                                5/24/21 Notice to Take Deposition Duces Tecum of Kevin Grudzien
                                     (Grudzien Dep Ex 16) - 4 pages
   32                                How does COVID-19 impact my existing Business Interruption claim?
                                     by Kevin Grudzien (Grudzien Dep Ex 17) - 5 pages
   33                                4/30/21 Expert report of David Schlader (Grudzien Dep Ex 18,
                                     Schlader Dep Ex 2) - 15 pages
   34                                Defendant The Cincinnati Insurance Company's Supplemental
                                     Response to Plaintiff's First Interrogatories Number 6 (Henn Dep Ex 1)
                                     - 5 pages
   35                                9/22/06 T. Schmittou email to M. Broerman re ISO Exclusion of Loss
                                     Due to Virus or Bacteria (Henn Dep Ex 2) - 3 pages
   36                                The Cincinnati Insurance Company Commercial Property Coverage
                                     Part Declarations re business interruption (Henn Dep Ex 3) - 101 pages
   37                                2002 Farm Property - Farm Dwellings, Appurtenant Structures and
                                     Household Personal Property Coverage Form (Henn Dep Ex 4) - 9
                                     pages
   38                                2008 Cause of Loss Form - Farm Property (Henn Dep Ex 5) - 10 pages



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39                             2007 Endorsement re Exclusion of Loss Due to Virus or Bacteria
                               (Henn Dep Ex 6)
40                             2006 Endorsement - Massachusetts Exclusion of Loss Due to Virus or
                               Bacteria (Henn Dep Ex 7)
41                             2008 Endorsement - Alaska Exclusion of Loss Due to Virus or
                               Bacteria (Henn Dep Ex 8)
42                             2006 Endorsement - Exclusion of Loss Due to Virus or Bacteria (Henn
                               Dep Ex 9)
43                             4/18/06 L. Newman email to J. Pineda re Biological Contamination
                               (Henn Dep Ex 10) - 29 pages
44                             Defendant The Cincinnati Insurance Company's Privilege Log
                               Concerning Supplementation of Interrogatory 6 (Henn Dep Ex 11)
45                             3/29/21 Opening Expert Report of Dr. Alexander M. Klibanov
                               (Klibanov Dep Ex A) - 73 pages
46                             5/25/21 Notice to Take Deposition Duces Tecum for Alexander
                               Klibanov (Klibanov Dep Ex B) - 4 pages
47                             3/31/21 A. Klibanov invoice to Stueve Siegel Hanson for expert
                               consulting services rendered (Klibanov Dep Ex C)
48                             5/31/21 Defendant The Cincinnati Insurance Company, Inc.'s Notice of
                               Deposition of Plaintiff K.C. Hopps, Ltd. Pursuant to Rule 30(b)(6) of
                               the Federal Rules of Civil Procedure (Nelson Dep Ex 1) - 5 pages
49                             6/1/21 M. Lytle email to M. Brown re KC Hopps v. Cincinnati 4:20-
                               CV-00437-SRB - Notice to Take Deposition (Nelson Dep Ex 2) - 7
                               pages
50                             12/29/20 First Amended Complaint and Demand for Jury Trial (Nelson
                               Dep Ex 3) - 20 pages
51                             1/25/20 The Cincinnati Insurance Company Common Policy
                               Declarations (Nelson Dep Ex 4) - 5 pages
52                             Binder containing declaration and executive orders from Kansas and
                               Missouri (Nelson Dep Ex 5) - 257 pages
53                             2/5/21 Plaintiff K.C. Hopps, Ltd.'s Answers and Objections to
                               Defendant The Cincinnati Insurance Company's First Set of Written
                               Interrogatories (Nelson Dep Ex 6) - 12 pages
54                             KC Hopps notice "What is the Mask Requirement" (Nelson Dep Ex 7)
55                             KC Hopps notice re table not being seated for service (Nelson Dep Ex
                               8)
56                             3/24/20 Property Loss Notice (Nelson Dep Ex 9) - 6 pages
57                             Kindred CPA transmission of 2019 federal and Kansas tax returns
                               (Nelson Dep Ex 12) - 14 pages
58                             2/11/21 Paycheck Protection Program Second Draw Borrower
                               Application Form for Arena Promotions, LLC (Nelson Dep Ex 13) - 6
                               pages
59                             Paycheck Protection Program Second Draw Borrower Application
                               Forms for various KC Hopps entities (Nelson Dep Ex 14) - 10 pages
60                             4/10/20 Notices of Paycheck Protection Program Forgiveness Payment
                               for various KC Hopps entities (Nelson Dep Ex 15) - 10 pages
61                             1/24/20 . Lore email to D. Tuke re KC Hopps - EPP1024051 (Nelson
                               Dep Ex 16) - 2 pages
62                             12/3/19 JR Reilly email to Douglas Tuke re KC Hopps (Nelson Dep
                               Ex 17)
63                             4/20/20 B. Genail email to D. Lagrisse re Insurance Policy Delivery
                               (Nelson Dep Ex 18) - 2 pages




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64                             8/7/20 R. Clark/Cincinnati Insurance letter to KC Hopps Ltd. regarding
                               claim and coverage (Nelson Dep Ex 19) - 3 pages
65                             2/11/21 Kansas City Star article, "Kansas City bar and restaurant sues
                               mayor over COVID-19 restrictions" (Nelson Dep Ex 20) - 4 pages
66                             1/28/21 Petition for Writ of Prohibition in State of Missouri, ex rel
                               O'Dowd's LLC d/b/a O'Dowd's Gastrobar v. Quinton Lucas (Nelson
                               Dep Ex 21) - 14 pages
67                             5/25/21 Arena Promotions balance sheet ((O'Brien Dep Ex 2) - 2 pages
68                             CARES Act Small Business Grant Program Arena Promotions, LLC
                               reimbursement worksheet (O'Brien Dep Ex 3) - 3 pages
69                             Barleys balance sheets and income statements (O'Brien Dep Ex 4) - 15
                               pages
70                             Blue Moose Falcon Ridge balance sheets and income statements
                               (O'Brien Dep Ex 5) - 15 pages
71                             Blue Moose Prairie Village balance sheets and income statements
                               (O'Brien Dep Ex 6) - 15 pages
72                             Blue Moose Red Bridge balance sheets and income statements
                               (O'Brien Dep Ex 7) - 15 pages
73                             Briarcliff Events balance sheets and income statements (O'Brien Dep
                               Ex 8) - 15 pages
74                             Hopps Catering balance sheets and income statements (O'Brien Dep
                               Ex 9) - 15 pages
75                             Hopps Management balance sheet (O'Brien Dep Ex 10)
76                             O'Dowd's Plaza balance sheets and income statements (O'Brien Dep
                               Ex 11) - 15 pages
77                             Strouds 135th Street balance sheets and income statements (O'Brien
                               Dep Ex 12) - 15 pages
78                             Excerpts from The Reilly Company, LLC website (Reilly Dep Ex 1) -
                               17 pages
79                             9/8/16 Affidavit of J. R. Reilly in Jeff Reed v. The Reilly Company,
                               LLC (Reilly Dep Ex 2) - 3 pages
80                             4/20/20 B. Genail email to D. Lygrisse re Insurance Policy Delivery
                               (Reilly Dep Ex 3)
81                             12/3/19 D. Tuke email to J.R. Reilly re KC Hopps (Reilly Dep Ex 4)
82                             12/8/20 JR Reilly email to K. Lore re O'Dowds Closing (Reilly Dep Ex
                               5) - 2 pages
83                             1/24/20 K. Lore email to D. Tuke re KC Hopps -= EPP124051 (Reilly
                               Dep Ex 6) - 9 pages
84                             KC Hopps policy proposal for term 1/25/20 - 1/25/21 (Reilly Dep Ex
                               7) - 12 pages
85                             3/11/20 J.R. Reilly email to A. Loetel re Door Dash/Uber Eats/Etc.
                               (Reilly Dep Ex 8) - 2 pages
86                             5/5/20 J.R. Reilly email to K. Ravenscraft re KC Hopps LTD - EPP
                               1023051 1/25/20 exp. (Reilly Dep Ex 9) - 3 pages
87                             10/31/20 J.R. Reilly email to K. Lore re KC Hopps (Reilly Dep Ex 10)
88                             11/29/20 J.R. Reilly email to K. Lore re Blue Moose Lenexa
                               (3300585845) (Reilly Dep Ex 11) - 2 pages
89                             12/13/19 - 1/25/21 Log Spreadsheet (Reilly Dep Ex 12) - 4 pages
90                             Common Policy Declarations for KC Hopps Ltd (Reilly Dep Ex 13) - 2
                               pages
91                             Business Income Worksheet Actual Loss Sustained Coverage for KC
                               Hopps, Ltd. (Reilly Dep Ex 14) - 2 pages



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92                              6/20/20 J.R. Reilly email to T. Wagner re ODP Protesting Outline and
                                events (Reilly Dep Ex 15) - 6 pages
93                              6/29/20 R. Clark/Cincinnati Insurance letter to KC Hopps Ltd re Claim
                                #3561736 (Reilly Dep Ex 16) - 10 pages
94                              6/30/20 J.R. Reilly email to R. Clark re Plaza Riot Claims (Reilly Dep
                                Ex 17) - 7 pages
95                              8/25/20 J.R. Reilly email to R. Clark re Claim 3561736 KC Hopps
                                (Reilly Dep Ex 18) - 11 pages
96                              3/24/20 J.R. Reilly email to T. Wagner re KC Hopps (Reilly Dep Ex
                                19)
97                              3/31/20 .R. Reilly email to K. Lore re KC Hopps (Reilly Dep Ex 20) -
                                7 pages
98                              Copy of Schlader paper file (Schlader Dep Ex 1) - 528 pages
99                              5/26/21 D. Schlader supplemental expert report (Schlader Dep Ex 3) -
                                5 pages
100                             4/30/21 Buchanan Clarke Schlader LLP Invoice #120242 issued to
                                Wallace Saunders for accounting services rendered (Schlader Dep Ex
                                4) - 3 pages
101                             Cincinnati Insurance Commercial Property Coverage Part Declarations
                                (Schlader Dep Ex 5) - 101 pages
102                             Definitions of operating activities and financing activities (Schlader
                                Dep Ex 6)
103                             Expert Report of Dr. Wayne Thomann (Thomann Dep Ex 1) - 14 pages
104                             Curriculum Vitae for Wayne R. Thomann (Thomann Dep Ex 2) - 17
                                pages
105                             5/5/21 Duke Occupational Health Services Invoice #00117806-00
                                issued to Litchfield Cavo, LLP (Thomann Dep Ex 3)
106                             4/20/20 Stability of SARS-CoV-2 in different environmental
                                conditions (Thomann Dep Ex 4)
107                             7/3/20 Exaggerated risk of transmission of COVID-19 by fomites
                                (Thomann Dep Ex 5) - 3 pages
108                             2/4/21 COVID-19 Rarely Infects Through Surfaces, So Why Are We
                                Still Deep Cleaning? (Thomann Dep Ex 7) - 4 pages
109                             Wayne R. Thomann, DrPH webpages from Duke Family Medicine &
                                Community Health website (Thomann Dep Ex 8) - 3 pages
110                             4/5/21 CDC article, "Science Brief: SARS-CoV-2 and Surface
                                (Fomite) Transmission for Indoor Community Environments"
                                (Thomann Dep Ex 9) - 6 pages
111                             5/7/21 CDC article, "Scientific Brief: SARS-CoV-2 Transmission" -
                                summary of recent changes (Thomann Dep Ex 10) - 4 pages
112                             4/5/21 CDC article "Cleaning and Disinfecting Your Facility"
                                (Thomann Dep Ex 11) - 9 pages
113                             12/16/20 CDC article, "Considerations for Restaurant and Bar
                                Operators" (Thomann Dep Ex 12) - 12 pages
114                             4/9/21 CDC article, "Strategies for Optimizing the Supply of N95
                                Respirators" (Thomann Dep Ex 13) - 23 pages
115                             4/21/20 Corbly email to K. Yerigan re CA BIS 2020 - Group 0244 - 3
                                pages
116                             2006 Endorsement re Exclusion of Loss Due to Virus or Bacteria
117                             2006 Endorsement re Exclusion of Loss Due to Virus or Bacteria




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118                             M. Broerman email to T. Schmittou re Cyber Exclusions
                                Communication with attached Communicable Disease Communication
                                to Associates Q1 2021 - 2 pages
119                             2/3/21 T. Huberty email to multiple parties re 2021 Reinsurance Treaty
                                Exclusion Language with attached 2021 Treaty Exclusion Language
                                document - 16 pages
120                             2/10/21 T. Huberty email to multiple parties re Communicable Disease
                                screen mockup with attached screens - 8 pages
121                             9/22/06 M. Broerman email to R. Wilson, J. Mintz and R. Taphorn re
                                ISO Exclusion of Loss Due to Virus or Bacteria
122                             3/15/21 J. West email to multiple parties re CLD Portfolio Quarterly
                                Update with attached CLD Portfolio Update - 03 16 21 - 21 pages
123                             4/3/20 M. Broerman email to self re ISOnet Circular Alert Service -
                                Advisory Notice - CP, BOP, Farm with attached LI-CF 2020-033
                                Advisory Notice CP - 12 pages
124                             3/18/20 M. Broerman email to T. Huberty and T. Schmittou re New
                                York Department of Financial Services Coronavirus Special Call - ISO
                                circular with attached ISO Li-CL-2020-010 - 8 pages
125                             3/20/20 T. Huberty email to multiple parties re Agent Communication
                                with attached Agency portal update - March 20 - 5 pages
126                             7/20/20 CustomerCare email to M. Broerman re NILS State Filing PC
                                Alert - MI
127                             4/3/20 M. Broerman email to J. Bradburn re status - 4 pages
128                             4/6/20 D. Stephens email to multiple parties re E-mail Alert from
                                Competiscan: New Trend Report - Commercial Competiscan Alert:
                                Business Interruption Coverage in Commercial Insurance with
                                attachments - 34 pages
129                             5/28/20 M. Broerman email to self re Business Income Form
                                Comparison with attached Biz Income FA 212 vs ISO CP0030 - 3
                                pages
130                             3/16/20 T. Huberty email to multiple parties re Coronavirus Coverage
                                Questions - 2 pages
131                             5/12/20 T. Schmittou email to multiple parties re SIR COVID-19
                                Survey & FREE Webinars - 5 pages
132                             5/4/20 J. Bradburn email to M. Broerman re delayed - 2 pages
133                             5/5/20 J. Broerman email to M. Broerman, R. Broerman and M.
                                Broerman re Coverage - 2 pages
134                             3/19/20 T. Schmittou email to multiple parties re ISO COVID-19
                                Roundtable Announced - 2 pages
135                             5/4/20 M. Bradburn email to M. Broerman re delayed - 3 pages
136                             4/15/20 M. Broerman email to M. Broerman re ISO Exclusion of Loss
                                Due to Virus or Bacteria - 2 pages
137                             3/20/20 T. Huberty email to multiple parties re Agent Communication
                                with attached Agency portal update - March 20 - 4 pages
138                             4/30/20 J. Bradburn email to M. Broerman re status - 4 pages
139                             3/20/20 T. Huberty email to multiple parties re Agent Communication
                                with attached Agency portal update - March 20 - 4 pages
140                             S. Corbly email to DFS.Property-Casualty-Letters re New York "308
                                Letter - C-19 Exclusions" with attachments - 7 pages
141                             6/5/20 A. Schnell email to S. Corbly re Our File No. 63735; Pol. No.
                                EPP0517458 with attached 63735 Complaint - 5 pages




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142                             4/7/20 M. Johnson email to S. Corbly re OK Policyholder Letter with
                                attachments - 6 pages
143                             4/22/20 T. Huntington email to S. Corbly re COVID-19 Request for
                                Information - 4 pages
144                             4/21/20 S. Corbly email to T. Purdy re CA BIS 2020 - Group -0244
                                with attached CA Business Interruption Survey Cincinnati revised - 3
                                pages
145                             3/24/20 T. Huberty email to S. Corbly re Covid 19 and Business
                                Income Article with attached New Jersey COVID19 Business Income -
                                3 pages
146                             4/1/20 S. Corbly email to Policy@oic.wa.gov re COVID-19 SPECIAL
                                REPORT NAIC #10677, 28665 and 23280 with attached WA COVID
                                19 policy count and WA Policyholder Letter Electronic 3-31-20 - 4
                                pages
147                             3/18/20 M. Johnson email to S. Johnston and S. Spray re NY DFS
                                Policyholder letter with multiple attachments - 8 pages
148                             3/11/20 T. Huberty email to S. Corbly re Mgr Meeting Minutes - - UW
                                Coverage Detail for Biz Income triggers with attached Coronavirus for
                                UW - 6 pages
149                             3/18/20 K. Yerigan email to S. Corbly re New York Department of
                                Financial Services Coronavirus Special Call with attached ISO
                                Circular - 9 pages
150                             4/21/20 S. Corbly email to K. Yerigan re CA BIX 2020 - Group 0244
                                with attached CA Business Interruption Survey Cincinnati revised - 3
                                pages
151                             3/21/20 E. Hill email to M. Hinton re Coronavirus Claims with
                                attached Covid ROR example - 12 pages
152                             2/11/21 T. Schmittou email to multiple parties re Leasing company's
                                virus-related lost income suit proceeds - 8 pages
153                             3/23/21 M. Broerman email to self re ALSO SEE VIRUS-INS emails -
                                ISO FW: ISO Exclusion of Loss Due to Virus or Bacteria - 2 pages
154                             4/15/20 M. Broerman email to self re ISO Exclusion of Loss Due to
                                Virus or Bacteria - TIM sign-off - we won't adopt - 2 pages
155                             2/10/20 T. Schmittou email to M. Broerman re ISOnet Circular Alert
                                Service - Coronavirus - 2 pages
156                             3/24/20 T. Huberty email to S. Williams and D. Groff re COVID-19
                                Coverage Questions - 9 pages
157                             4/3/20 M. Broerman email to self re ISOnet Circular Alert Services -
                                Advisory Notice - CP, BOP, Farm with attached LI-CF-2020-033
                                Advisory Notice CP - 12 pages
158                             5/4/20 J. Bradburn email to M. Broerman re delayed - 3 pages
159                             3/23/20 J. Ritchie email to T. Swanson re RED FEATHER, LLC -
                                CLAIM ADDENDUM INFORMATION - CLAIM #3519468 - 3
                                pages
160                             9/24/20 M. Acevedo email to C. Dowdy re Hospitality Cover Plus with
                                attached Good Missouri case and Good NJ transcript - 50 pages
161                             5/8/20 C. Dowdy email to M. McKnight re IL20-04449 Complaint
                                Documents - Illinois Department of Insurance with attached IL
                                Consumer Complaint, IL DOI Complaint Letter and Insurance Dept.
                                Complaint Form - 91 pages
162                             3/18/20 K. Roop email to T. Swanson re GA Dept of Insurance on
                                Coronavirus with attached Bulletin-3172020-1619 - 4 pages




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163                             8/17/20 C. Dowdy email to K. Fredrick re claims... - 6 pages
164                             3/18/20 B. Callentine email to T. Swanson and C. Dowdy re BI claim
                                discussions - 3 pages
165                             3/24/20 M. Briscoe email to C. Dowdy re COVID019 with attached 3-
                                24-20 Stay Home Work Safe Order by the County Judge - 23 pages
166                             1/19/21 M. Farley email to P. Filtyn re Oll Legal Committee: Request
                                for Amicus in Neuro-Communications Services v. Cincinnati
                                Insurance BUSINESS INTERRUPTION - 3 pages
167                             11/11/20 C. Kennedy email to P. Foltyn re Clips: Nation's 1st COVID-
                                19 Business-Interruption Suit Headed to Trial - 3 pages
168                             12/15/20 S. Givler email to R. Klimkowski and A. Delaney re
                                Competitive Edge Sales Department Newsletter - December Edition -
                                17 pages
169                             3/29/21 D. Selembo email to multiple parties re Communicable
                                Disease Exclusion Guidance with attached Communicable Disease
                                Exclusion Guidance April 2021 - 3 pages
170                             12/21/20 S. Givler email to C. Chavers re Interesting approach to filing
                                a virus exclusion
171                             12/31/20 S. Givler email to D. Groff re CSU Property and Casualty
                                Reinsurance Renewals with attached Memorandum of Understanding -
                                4 pages
172                             12/16/20 K. Getz email to S. Givler re Competitive Edge Sales
                                Department Newsletter - December Edition - 20 pages
173                             3/20/20 A. Delaney email to #PC-Field Representatives re Agent
                                Communication with attached Agency portal update - March 20 - 3
                                pages
174                             T. Huberty email to S. Givler re Global Case - 2 pages
175                             5/26/20 J. McClain email to K. Yerigan re COVID-19
                                PROPERTY/CASUALTY BUSINESS INTERRUPTINO DATA
                                CALL with attached copy of COVID BI PREMIUMS spreadsheet - 6
                                pages
176                             4/2/20 M. Zimmerman email to T. Huberty re David Selembo re
                                GoToWebinar - Potential Coverage Implications Surrounding COVID-
                                19 - 38 pages
177                             4/3/20 M. Phillips email to multiple parties re Requests for
                                confirmation that our CGL doesn't contain a virus exclusion
178                             2/20/20 T. Schmittou email to T. Huberty, B. Lecky, G. Koch and R.
                                Klimkowski re BI loss triggered by Coronavirus - 4 pages
179                             3/4/20 T. Schmittou email to T. Swanson re PP for UW Explaining
                                lack of coronavirus coverage - 2 pages
180                             2/6/20 D. Kahn email to multiple parties re Coronavirus - Advance
                                Copy of Commercial Property Circular with attached circular - 11
                                pages
181                             3/10/20 T. Schmittou email to T. Huberty re Coronavirus Insurance -
                                Legal Alert - 3 pages
182                             3/6/20 S. Spray email to L. Love re COVID-19 with attached Tech
                                Talk Coronavirus and Commercial Business Shutdown Covered or Not
                                - 14 pages
183                             10/28/20 D. McDaniel email to multiple parties re KBW post-call
                                report on 3Q20 CINF results with attachment - 10 pages
184                             5/20/20 CPCU Society email to R. Taphorn re CPCU All Members
                                Forum Digest for Tuesday May 19, 2020 - 21 pages




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185                             2/20/20 T. Huberty email to J. McClain re Preparing for Coronavirus
                                with attachment - 12 pages
186                             2/11/21 T. Schmittou email to multiple parties re Leasing company's
                                virus-related lost income suit proceeds - 8 pages
187                             3/24/20 T. Huberty email to S. Williams and D. Groff re COVID-19
                                Coverage Questions with attached Guidance Needed: Protective
                                Safeguards/Vacancy Clauses/Remote Workers - 6 pages
188                             3/13/20 T. Fickling email to T. Huberty re Coronavirus.pdf - ok to
                                share with agents? with attached coronavirus - not covered
                                explanations - 6 pages
189                             12/5/20 D. Selembo email to R. French re Casualty Follow up - Swiss
                                RE and Cincinnati Call - 5 pages
190                             10/1/20 A. Delaney email to S. Givler re Loss Control Inspections
                                suspended for clients with COVID BI Claims with attached BI Claim
                                Concerns Guidance 09-28-2020 - 6 pages
191                             Minnesota COVID-19 Response - 4 pages
192                             Response to NY DFS Request - 2 pages
193                             4/16/20 J. Wells/Cincinnati Insurance letter to YMCA of Henderson
                                County with coverage decision - 12 pages
194                             2006 Endorsement re Exclusion of Loss Due to Virus or Bacteria
195                             Various endorsements for exclusion - 43 pages
196                             8/17/20 S. Berns/Cincinnati Insurance letter to Harbinger LLC dba
                                Brewery Emperial, LLC regarding claim - 9 pages
197                             11/23/20 Order Granting Plaintiff's Motion for Partial Summary
                                Judgment re Coverage Grant in Perry Street Brewing Company, LLC
                                v. Mutual of Enumclaw Insurance Company - 6 pages
198                             10/30/20 S. Berns/Cincinnati Insurance letter to D. Curry re coverage
                                decision regarding claim by Harbinger LLC dba Brewery Emperial
                                CBE LLC - 9 pages
199                             5/14/20 Senior Leader Key Messages - 2 pages
200                             4/7/20 Cincinnati Financial Core Margins Beat; However, Mgt.
                                Relying Solely On The BI Property Damage Exclusion - 7 pages
201                             7/26/06 ISO Circular - New Endorsements to Address Exclusion of
                                Loss Due to Virus or Bacteria Filed - 10 pages
202                             7/26/06 ISO Circular - New Rules to Address Exclusion of Loss Due
                                to Virus or Bacteria Filed - 11 pages
203                             2/7/20 ISO Circular - Advisory Endorsements Furnished But Not
                                Filed: Business Interruption Options for Limited Civil Authority
                                Coverage Related to Coronavirus - 10 pages
204                             5/1/20 Cincinnati Financial Corporation COVID-19 Commentary
205                             Document containing rationale for no virus exclusion
206                             7/28/06 ISO Circular - Forms and Rules to Address Exclusion of Loss
                                Due to Virus or Bacteria Being Implemented in Several Jurisdictions -
                                6 pages
207                             7/6/06 ISO Circular - New Endorsements Filed to Address Exclusion
                                of Loss Due to Virus or Bacteria - 12 pages
208                             11/15/04 ISO Circular - Commercial Property Panel Agenda Closed -
                                31 pages
209                             Paycheck Protection Program Borrower Application Forms for various
                                entities - 11 pages




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210                              5/3/21 Notice of Paycheck Protection Program Forgiveness Payment
                                 for Arena Promotions LLC
211                              5/3/21 Notice of Paycheck Protection Program Forgiveness Payment
                                 for Barley's Brewhaus LLC
212                              5/3/21 Notice of Paycheck Protection Program Forgiveness Payment
                                 for Barleys, Ltd.
213                              5/3/21 Notice of Paycheck Protection Program Forgiveness Payment
                                 for Briarcliff Events LLC
214                              5/3/21 Notice of Paycheck Protection Program Forgiveness Payment
                                 for Hopps Catering LLC
215                              5/3/21 Notice of Paycheck Protection Program Forgiveness Payment
                                 for O'Dowds LLC
216                              5/3/21 Notice of Paycheck Protection Program Forgiveness Payment
                                 for Pan Fried 2, LLC
217                              5/3/21 Notice of Paycheck Protection Program Forgiveness Payment
                                 for South East KC Restaurant Co., LLC
218                              5/3/21 Notice of Paycheck Protection Program Forgiveness Payment
                                 for Falcon Ridge Restaurant LLC
219                              5/3/21 Notice of Paycheck Protection Program Forgiveness Payment
                                 for Hopps Management Co LLC
220                              8/6/21 Jackson County Executive Order - 4 pages
221                              8/19/21 Kansas City Council rescission of Order 21-01 - 5 pages
222                              8/20/21 Kansas City Missouri Health Department on Ordinance
                                 210694 as it relates to restaurants and taverns - 2 pages
223                              8/27/21 Missouri Governor's Executive Order EO 21-09
224                              9/17/21 Supplemental Expert Report of Kevin Grudzien with exhibits -
                                 721 pages
225                              8/25/21 Kansas City Star article, “Newly reported COVID death in
                                 Kansas county may be the first known in US”
226                              Goodman Expert File – 981 pages
227                              PYXIS File (supporting documentation) – 29 pages
228                              Thomann File (405 pages)
229                              Recent Depositions for Dr. Wayne Thomann
230                              Armitage Case List 2020 – 2 pages
231                              Keith Armitage Case List 2019 – 11 pages
232                              4/28/21 Keith Armitage, MD Final Report – 3 pages
233                              Keith Armitage, MD Curriculum Vitae – 18 pages
234                              Cincinnati Insurance Policy - 470 pages
235                              10/5/20 Cincinnati's Responses to First Interrogatories - 7 pages
236                              2/5/20 Plaintiff’s Responses and Objections to First Request for
                                 Production - 14 pages
237                              2/5/21 Plaintiff's Responses and Objections to First Set of Requests for
                                 Admissions - 36 pages
238                              10/21/20 Cincinnati's Initial Rule 26 Disclosures - 5 pages
239                              10/21/20 Plaintiff's Initial Rule 26 Disclosures - 5 pages
240                              4/30/21 Defendant Expert Disclosures - 4 pages
241                              5/26/21 Defendant's Supplemental Expert Witness Disclosure - 4 pages
242                              3/29/21 Plaintiff's Expert Witness Disclosures




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243                              Paycheck Protection Program Second Draw Loans
244                              Paycheck Protection Program Borrower Application Form Revised
                                 June 12, 2020 – 4 pages
245                              SBA Restaurant Revitalization Funding Application – 16 pages
246                              6/9/21 D. Litchfield email to M. Lytle re KC Hopps (Dowdy Dep Ex
                                 1) - 3 pages
247                              Claim file re KC Hopps Ltd (Dowdy Dep Ex 2) - 29 pages
248                              6/4/20 Complaint, K.C. Hopps, Ltd. v. The Cincinnati Insurance
                                 Company, Inc. (Dowdy Dep Ex 3) - 27 pages
249                              6/4/20 ISO Match Report (Dowdy Dep Ex 4) - 6 pages
250                              5/15/20 N. Jones letter to KC Hopps LTD re coverage decision
                                 (Dowdy Dep Ex 5, Nelson Dep Ex 11) - 8 pages
251                              4/10/20 N. Jones letter to KC HOPPS LTD to advise he will be
                                 handling claim (Dowdy Dep Ex 6)
252                              4/2/20 ISO Match Report (Dowdy Dep Ex 7) - 23 pages
253                              4/1/20 R. Clark letter to D. Lygrisse/KC Hopps re claim (Dowdy Dep
                                 Ex 8, Nelson Dep Ex 10) - 9 pages
254                              1/25/20 Common Policy Declarations for Policy # EPP 012 40 51/EBA
                                 012 40 51 (Dowdy Dep Ex 9) - 59 pages
255                              All pleadings, filings and any document attached to any filing in this
                                 case.
256                              Demonstrative and/or Summary exhibits
257                              Documents listed on Defendant’s Exhibit List
258                              Documents used for impeachment or rebuttal
259                              All documents disclosed or produced by any designated expert
260                              All documents produced by either party in this case
261                              All documents marked as an exhibit to any deposition taken in this
                                 case




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Date: September 17, 2021

 STUEVE SIEGEL HANSON LLP

 s/ Patrick J. Stueve
 Patrick J. Stueve, MO #37682
 Bradley T. Wilders, MO #60444
 Curtis Shank, MO #66221
 Abby E. McClellan, MO Bar # 66069
 460 Nichols Road, Suite 200
 Kansas City, Missouri 64112
 Telephone:       816-714-7100
 Facsimile:       816-714-7101
 Email:           stueve@stuevesiegel.com
 Email:           wilders@stuevesiegel.com
 Email:           shank@stuevesiegel.com


 MILLER SCHIRGER LLC

 John J. Schirger, MO # 60583
 Matthew W. Lytle, MO #59145
 Joseph M. Feierabend, MO #62563
 4520 Main Street, Suite 1570
 Kansas City, MO 64111
 Telephone:      (816) 561-6500
 Facsimile:      (816) 561-6501
 Email: jschirger@millerschirger.com
 Email: mlytle@millerschirger.com
 Email: jfeierabend@millerschirger.com

 LANGDON & EMISON LLC

 J. Kent Emison, MO #29721
 911 Main Street
 PO Box 220
 Lexington, Missouri 64067
 Telephone:      (660) 259-6175
 Facsimile:      (660) 259-4571
 Email:          kent@lelaw.com

 SHAFFER LOMBARDO SHURIN, P.C.
 Richard F. Lombardo, MO# 29748
 2001 Wyandotte Street
 Kansas City, MO 64108
 Telephone:    816-931-0500
 Facsimile:    816-931-5775
 Email:        rlombardo@sls-law.com

 Attorneys for Plaintiff\




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